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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

   PILOT, United States Coast Guard, et      )
   al., for themselves and all others        )
   similarly situated,                       )
                                             )
                       Plaintiffs,           )      No. 8:22-cv-1278-SDM-TGW
   v.                                        )
                                             )
   LLOYD AUSTIN, in his official             )
   capacity as Secretary of the United       )
   States Department of Defense, et al.,     )
                                             )
                       Defendants.           )


                     PLAINTIFFS’ RENEWED MOTION FOR
                    CLASSWIDE PRELIMINARY INJUNCTION

        Plaintiffs, pursuant to Fed. R. Civ. P. 65 and Local Rule 3.01, renew their

  Motion (Doc. 2, 176) for Classwide Preliminary Injunction, as requested in their Third

  Amended Verified Class Action Complaint (Doc. 198) and Renewed Motion for Class

  Certification, filed simultaneously herewith. For the reasons set forth in the

  incorporated Memorandum of Law, Plaintiffs’ Motion should be granted.

               INTRODUCTION AND FACTUAL BACKGROUND

        A.     Plaintiffs’ Final Denial Of Religious Accommodation Requests.

        On August 5, 2022, Plaintiffs filed their Third Amended Verified Class Action

  Complaint (Doc. 198) showing that the Coast Guard had issued a memorandum to all

  Coast Guard commands to initiate the separation proceedings for all Coast

  Guardsmen who had refused to accept a COVID-19 vaccination that violates their

  sincerely held religious beliefs. (Doc. 198, ¶¶ 25–29.) Plaintiffs LCDR Pilot,
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  Lieutenant 2, Avionics Electrical Technician 1, Marine Science Technician 3, and

  Senior Chief Boatswain’s Mate have all submitted requests for religious

  accommodation, received determinations of sincerity for their religious objections to

  mandatory COVID-19 vaccinations, had their requests denied, timely appealed, and

  had their appeals denied. (Doc. 198, ¶¶ 25–29.) And, Plaintiff Pilot’s religious

  accommodation “imminently will be denied,” Col. Fin. Mgmt. Officer v. Austin, No.

  8:22-cv-1275-SDM-TGW, 2022 WL 3643512, at *8 (M.D. Fla. Aug. 18, 2022),. And,

  all these Plaintiffs have received the Coast Guard’s order to either accept vaccination

  or face termination and separation. (Id.).

        B.     The Inspector General’s Memorandum Outlining Defendants’
               Unlawful Application of COVID-19 Vaccination Requirement.

        On June 2, 2022, the Acting Inspector General for the Department of Defense,

  Sean W. O’Donnell, submitted a written memorandum to Defendant Secretary Austin

  outlining the unlawfulness of the DOD’s religious accommodation process. (A true

  and correct copy of the Inspector General’s Memorandum is attached hereto as

  Exhibit A.1) The Inspector General stated that the purpose behind his Memorandum


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         The Court may take judicial notice of the Inspector General’s Memorandum as
  a government document. See, e.g., Austin v. Metro Dev. Grp., LLC, No. 8:20-cv-1472-T-
  60TGW, 2020 WL 5543805, at *2 n.2 (M.D. Fla. Sept. 16, 2020) (“federal courts
  regularly take judicial notice of government documents”); Smith v. City of Atlantic
  Beach, 2020 WL 708145, at *1 (M.D. Fla. Feb. 12, 2020) (same); Dickens v. Pepperidge
  Farm Inc., No. 8:19-cv-2529-T-60AEP, 2020 WL 4227425, at *1 (M.D. Fla. July 23,
  2020) (same); see also Horne v. Potter, 392 F. App’x 800, 802 (11th Cir. 2010) (court may
  take judicial notice of government records). And, the Court may take judicial notice
  of government records “at any stage of the proceeding,” Fed. R. Evid. 201(b)(2),
  including at the preliminary injunction stage. See Smith v. Dunn, 568 F. Supp. 3d 1244,
  1249 n.1 (M.D. Ala. 2021).

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  was “[t]o inform you of potential noncompliance with standards for reviewing and

  documenting the denial of religious accommodation requests of Service members

  identified through complaints submitted to [the Inspector General].” (Ex. A at 1.)

  Importantly, the Inspector General noted that he “found a trend of generalized

  assessments rather than the individualized assessment that is required by Federal law

  and DoD and Military Service policies.” (Id.) He continued, “The denial

  memorandums we reviewed generally did not reflect an individualized analysis,

  demonstrating that the Senior Military Official considered the full range of facts and

  circumstances relevant to the particular religious accommodation request.” (Id.)

        Not only was the trend noted by the Inspector General concerning, but it

  demonstrated that Defendants’ review of the Proposed Class’s requests could not

  possibly have complied with the requirements of RFRA:

        Additionally, the volume and rate at which decisions were made to deny
        requests is concerning. The appeal authorities of the Services we
        reviewed indicated that an average of 50 denials per day were processed
        over a 90-day period. Assuming a 10-hour work day with no breaks or attention
        to other matters, the average review period was about 12 minutes for each package.
        Such a review period seems insufficient to process each request in an
        individualized manner and still perform the duties required of their
        position.

  (Ex. A at 2 (emphasis added).)




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                                      ARGUMENT

  I.    THE PROPOSED CLASS HAS A SUBSTANTIAL LIKELIHOOD OF
        SUCCESS ON THE MERITS OF THEIR RFRA CLAIMS AGAINST THE
        COAST GUARD.

        A.     The Coast Guard’s Systemic Refusal to Accommodate the Proposed
               Class’s Sincerely Held Religious Beliefs Constitutes a Substantial
               Burden.

        To determine whether the Coast Guard’s vaccine mandate on the Proposed

  Class imposes a substantial burden on their sincere religious beliefs, “the question that

  RFRA presents [is] whether the [vaccine] mandate imposes a substantial burden on

  the ability of the objecting parties to conduct business in accordance with their

  religious beliefs.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 724 (2014). As the

  Court has already held, “[g]overnmental action coercing a direct violation of a

  religious belief imposes a substantial burden.” (Doc. 111 at 32.) Indeed, “[a] direct

  order to accept the injection of a substance against which a [Coast Guardsman]

  harbors a sincere religious objection substantially burdens Free Exercise.” Col. Fin.

  Mgmt. Officer v. Austin, No. 8:22-cv-1275-SDM-TGW, 2022 WL 3643512, at *14 (M.D.

  Fla. Aug. 18, 2022).

        Plaintiffs and the Proposed Class are “[Coast Guardsmen] of different faiths,

  different education, and different acumen [who] might understand or explain this

  objection differently and with more or less clarity,” but they uniformly “object that the

  COVID-19 vaccine was developed from cell lines derived from electively aborted

  fetuses and that introducing an mRNA-active substance into their body either

  desecrates their body, a temple of the Holy Spirt, or is haram, forbidden.” Col. Fin.


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  Mgmt. Officer, 2022 WL 3643513, at *14. Here, the sworn testimony before the Court

  demonstrates that each of the Plaintiffs has sincere religious objections to the

  COVID-19 vaccine, and that such beliefs were determined sincere by the reviewing

  Coast Guard chaplains. (See, e.g., Doc. 198, ¶¶ 26–29.) Yet, “[n]otwithstanding a

  chaplain’s affirmation, the [Coast Guard] rejects as insubstantial any religious

  objection grounded in the vaccine’s connection to aborted fetal tissue,” Col. Fin. Mgmt.

  Officer, 2022 WL 3643513, at *14, and has denied each of Plaintiffs’ requested

  accommodations for sincere religious objections. (Doc. 198, ¶¶ 25–29.) The Coast

  Guard’s submissions to this Court likewise confirm that it systemically rejects requests

  for accommodation based on religious beliefs. Indeed, as the Coast Guard already

  admits on the record “most Plaintiffs’ requests for religious exemptions and appeals have

  been denied.” (Doc. 202 at 17 (emphasis added).; see also Doc. 198, ¶ 28 (verifying that

  the Coast Guard has informed “all commands” that they “must initiate separation for

  all unvaccinated Coast Guard servicemembers by August 24, 2022”).)

        Simply put,

        The [Coast Guard’s] blanket rejection of RFRA's burden confuses the
        sincerity inquiry with the substantial burden inquiry, which further
        reveals the systemic failure under which the [Coast Guard’s] resolution
        of religious accommodations labors. Of course, the injection into the
        body of a substance against which the recipient harbors a sincere religious
        objection is morally repugnant (to the class) and perforce burdens Free
        Exercise. And the burden is substantial not because the vaccine and the
        aborted tissue satisfy some arbitrary degree of connectedness but because
        the order to accept injection of the vaccine forces the religiously objecting
        [Coast Guardsman] to choose between betraying a sincere religious
        conviction and suffering court martial or separation from the military
        and, likely, visiting adverse consequences on the [Coast Guardsman’s]



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          family (such as the abrupt eviction from military housing and
          disenrollment from military schools).

  Col. Fin. Mgmt. Officer, 2022 WL 3643513, at *15.

          B.    The Coast Guard’s Substantial Burden on the Proposed Class’s
                Sincerely Held Religious Beliefs Mandates Strict Scrutiny, Which
                Defendants Have Not and Cannot Survive.

                1.     The Coast Guard bears the burden to demonstrate that its
                       substantial burden on Proposed Class members’ religious beliefs
                       satisfies strict scrutiny.

          “As the Government bears the burden of proof on the ultimate question of [the

  mandate’s] constitutionality, [the Proposed Class] must be deemed likely to prevail

  unless the Government has shown that [Plaintiffs’] proposed less restrictive

  alternatives are less effective than [the mandate to accept COVID-19 vaccination].”

  Ashcroft v. ACLU, 542 U.S. 656, 666 (2004). Indeed, “the burdens at the preliminary

  injunction stage track the burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao

  do Vegetal, 546 U.S. 418, 429 (2006). See also Col. Fin. Mgmt. Officer, 2022 WL 3643512,

  at *15 (“that is, the government must bear the burden of going forward with the

  evidence and satisfying the burden of persuasion, that application of the burden ‘to the

  person’ both ‘(1) is in furtherance of a compelling governmental interest and (2) is the

  least restrictive means of furthering that compelling governmental interest.’” (cleaned

  up)).

          As the Court has held numerous times, the Coast Guard is required to

  demonstrate a compelling government interest and the least restrictive means as it

  relates directly to each member of the Proposed Class. Indeed, “RFRA’s focus on ‘the



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  burden to the person’ demands more than dismissive, encompassing, and inflexible

  generalizations about the government’s interest and about the absence of a less

  restrictive alternative.” (Doc. 111 at 34.) And the Coast Guard “must discharge both

  of RFRA’s burdens through application of the challenged law to the person—the

  particular claimant whose sincere exercise of religion is being substantially burdened.”

  (Doc. 111 at 34 (cleaned up).) Moreover, “[t]hat the military must demonstrate ‘to the

  person’ analysis is no mere formality.” (Doc. 173 at 13.) “RFRA requires that a district

  court ‘scrutinize the asserted harm of granting specific exemptions to the particular

  religious claimants’—in other words, to look to the marginal interest in enforcing the

  mandate.” (Doc. 173 at 13 (quoting Hobby Lobby, 573 U.S. at 726).) “RFRA’s focus

  on ‘the application of the burden to the person’ demands more than dismissive,

  encompassing, and inflexible generalizations about the government’s interest and

  about the absence of a less restrictive alternative.” Col. Fin. Mgmt. Officer, 2022 WL

  3643512, at *15. Defendants utterly fail to discharge either of those burdens.

        In fact, ignoring what the Court has ordered multiple times and what RFRA

  plainly demands of them, the Coast Guard command continues to “persistently and

  resolutely cling to the belief that their accustomed and unfettered command discretion

  need not yield—on the narrow and specific question of the free exercise of religion—

  to the statutory command of RFRA.” (Doc. 122 at 9.) Defendants continue on their

  charted course “as if RFRA does not exist or has no application to the military or is a

  matter subject to the command discretion of the military.” (Doc. 122 at 10.) “The

  military designs to avoid the ‘to the person’ test, but the statute is unflinching” (Doc.

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  122 at 14), and the Coast Guard fails to yield to its commands or discharge the burden

  it places upon them. Indeed, whether the Coast Guard can satisfy the “to the person”

  test for a compelling government interest and the least restrictive means is “the

  question that RFRA burdens the defendants to answer. They have not.” (Doc. 122 at

  17.) And they have not because they cannot.

               2.     The Coast Guard fails to discharge its burden under RFRA to
                      demonstrate that forcing the Proposed Class to comply with
                      mandatory COVID-19 vaccination is supported by a compelling
                      interest.

        As was true with the Marine Corps, “[t]he record reveals a substantial likelihood

  that the [Coast Guard] fails systemically to conduct the analysis required by RFRA,

  that is, fails to discharge the burden of demonstrating—‘to the person’—a compelling

  interest to vaccinate each applicant.” Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *15.

  “[T]he government must proffer ‘specific and reliable evidence’ (not formulaic

  commands, policies, and conclusions) demonstrating that the marginal benefit flowing

  from a specific denial . . . furthers a compelling governmental interest.” (Doc. 111 at

  34 (quoting Gonzales, 546 U.S. at 430–31).) Put simply, as the Court has held, “a

  district court must not defer to an official’s ‘mere say-so that the official could not

  accommodate’ a request.” (Doc. 111 at 35 (quoting Holt v. Hobbs, 574 U.S. 352, 369

  (2015)).) “In satisfying this burden of applying RFRA to the person, ‘broadly

  articulated governmental interests and broadly articulated demands of military life’

  will not suffice.” (Doc. 173 at 12; Doc. 111 at 38.) The Coast Guard fails to




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  demonstrate that imposing the vaccine mandate on the Proposed Class is supported

  by a compelling interest.

        Here, as the Coast Guard has made clear, it views all religious objectors the

  same, “not suited for service in the Coast Guard or any other military service.” (Doc.

  198, ¶ 25 (quoting Vice Admiral Michael F. McAllister).) And the Inspector General

  makes this offensive and overly generalized statement even worse by noting that the

  military does not even attempt to consider relevant facts “to the person” of objecting

  servicemembers. “The denial memorandums we reviewed generally did not reflect an

  individualized analysis, demonstrating that the Senior Military Official considered the

  full range of facts and circumstances relevant to the particular religious

  accommodation request.” (Ex. A at 1.)

        Additionally, the volume and rate at which decisions were made to deny
        requests is concerning. The appeal authorities of the Services we
        reviewed indicated that an average of 50 denials per day were processed
        over a 90-day period. Assuming a 10-hour work day with no breaks or attention
        to other matters, the average review period was about 12 minutes for each package.
        Such a review period seems insufficient to process each request in an
        individualized manner and still perform the duties required of their
        position.

  (Ex. A at 2 (emphasis added).) If the Inspector General’s Memorandum shows that

  individualized, “to the person” review of the Plaintiffs’ and Proposed Class members’

  religious accommodation request was not possible, then not only has the Coast Guard

  not satisfied its burden under RFRA, it cannot satisfy that burden.

        Put simply, “the government has not shown that the stated interest cannot be

  reasonably preserved without subjecting [the Proposed Class] to vaccination contrary



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   to a sincerely held religious belief protected by RFRA or, given a refusal to vaccinate,

   separating [them] from service.” (Doc. 111 at 40.) Indeed, the Coast Guard’s

   “justifications for denying a religious accommodation to [the Proposed Class] are

   elementally inadequate under RFRA.” (Doc. 111 at 39.) “RFRA demands more”

   (Doc. 111 at 38), and the Coast Guard offers less. “Although each [Coast Guard]

   denial affirms that which no party disputes—that COVID-19 vaccination might

   promote to some extent the health and readiness of the force—no denial demonstrates

   that accommodating a particular applicant will meaningfully impede the health and

   readiness of the 95% vaccinated force or meaningfully impede the military’s operations

   and duties.” Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *15.

                 3.     The Coast Guard fails to discharge its burden under RFRA to
                        demonstrate that forcing the Proposed Class to comply with
                        mandatory COVID-19 vaccination is the least restrictive means.

          Under strict scrutiny, “[n]arrow tailoring requires the government to

   demonstrate that a policy is the ‘least restrictive means’ of achieving its objective.”

   Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 633 (2d Cir. 2020) (quoting Thomas v.

   Review Bd. of Ind. Employment Sec. Div., 450 U.S. 707, 718 (1981)). To meet this burden,

   the government must show it “seriously undertook to address the problem with less

   intrusive tools readily available to it,” meaning that it “considered different methods

   that other jurisdictions have found effective.” McCullen v. Coakley, 573 U.S. 464, 494

   (2014); see also Agudath Israel, 983 F.3d at 633 (same). And the Coast Guard must

   “show either that substantially less-restrictive alternatives were tried and failed, or that




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   the alternatives were closely examined and ruled out for good reason,” Bruni v. City of

   Pittsburgh, 824 F.3d 353, 370 (3d Cir. 2016), and that “imposing lesser burdens on

   religious liberty ‘would fail to achieve the government’s interest, not simply that the

   chosen route was easier.’” Agudath Israel, 983 F.3d at 633 (quoting McCullen, 573 U.S.

   at 495).

         As was true with the Marine Corps, the Coast Guard

          invariably rejects an accommodation because precautions other than
          vaccination lack comparable efficacy and are often incompatible with
          the demands of military life. But RFRA demands an assessment of the
          marginal interest in enforcing the challenged government action in that
          particular context. The [Coast Guard’s] invoking the general
          observation that precautions other than vaccination might interfere with
          the demands of military life is insufficient to demonstrate to the person,
          that is, in the particular context of an applicant’s service, that no
          precaution other than vaccination is suitable.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *16 (cleaned up).

         As the verified allegations before the Court make plain, the Coast Guard’s

   position has been—and remains—that “‘[i]f you are unvaccinated, you are not suited

   for service in the Coast Guard or any other military service.’” (Doc. 198, ¶ 25 (quoting

   Coast Guard Vice Admiral Michael F. McAllister).) And, just as the Marine Corps

   did with its systemic denial of religious accommodations, the Coast Guard submits to

   the Court that its refusal to accommodate sincerely held religious beliefs is justified by

   its interest in “maintaining a healthy, effective military workforce required for mission

   accomplishment at the individual, unit, and organizational level, including in

   maintaining military readiness, unit cohesion, good order and discipline, and health

   and safety.” (Doc. 202-1, ¶ 28.) The Coast Guard further justifies its blanket denial of


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   religious accommodations on the same rationale that “all personnel must be available

   for unrestricted duty assignment worldwide.” (Doc. 202-1, ¶ 26.)

         But this generalized assessment must fail for the Coast Guard as it did for the

   Marine Corps before it. The Coast Guard

         cannot evade RFRA by defining the conditions of service to exclude the
         possibility of an accommodation. This definitional sleight of hand evades
         the inquiry that RFRA demands: whether the [Coast Guard’s]
         generalized interest in worldwide deployability is materially impaired by
         tolerating a few religious objectors and accommodating their continued
         service to the [Coast Guard] despite the generalized policy of worldwide
         deployability.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *17. Simply put, the Coast Guard

         is most likely unable to establish, and certainly has not established, that
         permitting a minimal number of sincere RFRA objectors . . . to serve
         without adverse consequence to their rank and the terms and conditions
         of their service will adversely affect the governmental interest in the
         maintenance and readiness of the nation's military forces.

   Id.

         And, as the Inspector General’s Memorandum notes, the Coast Guard is not

   even trying to determine whether other accommodations are available. “The denial

   memorandums we reviewed generally did not reflect an individualized analysis,

   demonstrating that the Senior Military Official considered the full range of facts and

   circumstances relevant to the particular religious accommodation request.” (Ex. A at

   1.) Not only was the trend noted by the Inspector General concerning, but it

   demonstrated that Defendants’ review of the Proposed Class’s requests could not

   possibly have complied with the requirements of RFRA:




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         Additionally, the volume and rate at which decisions were made to deny
         requests is concerning. The appeal authorities of the Services we
         reviewed indicated that an average of 50 denials per day were processed
         over a 90-day period. Assuming a 10-hour work day with no breaks or attention
         to other matters, the average review period was about 12 minutes for each package.
         Such a review period seems insufficient to process each request in an
         individualized manner and still perform the duties required of their
         position.

   (Ex. A at 2 (emphasis added).)

         As was true with the Marine Corps, here, “[t]he record reveals a substantial

   likelihood that the [Coast Guard] fails systemically to conduct the analysis required by

   RFRA, that is, fails to discharge the burden of demonstrating—‘to the person’”—that

   vaccinating each applicant is the least restrictive means. Col. Fin. Mgmt. Officer, 2022

   WL 3643512, at *16.

   II.   THE PROPOSED CLASS FACES IMMEDIATE, IMMINENT, AND
         IRREPARABLE INJURY ABSENT CLASSWIDE INJUNCTIVE RELIEF.

         “[T]here can be no question that the challenged restrictions, if enforced, will

   cause irreparable harm. ‘The loss of First Amendment freedoms, for even minimal

   periods of time, unquestionably constitutes irreparable injury.’” Roman Catholic Diocese

   of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (quoting Elrod v. Burns, 427 U.S. 347, 373

   (1976)). As this Court has held, “the substantial pressure on a religiously objecting

   service member to obey the COVID-19 vaccination order and violate a sincerely held

   religious belief constitutes an irreparable injury redressable by a preliminary

   injunction.” (Doc. 111 at 44–45.) See also Air Force Officer v. Austin, No. 5:22-cv-9-TES,

   2022 WL 468799, at *12 (M.D. Ga. Feb. 15, 2022) (same); Navy SEALS 1–26 v. Biden,

   578 F. Supp. 3d 822, 839 (N.D. Tex. 2022) (“The crisis of conscience imposed by the

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   mandate is itself an irreparable harm.”). Indeed, “[r]equiring a service member either

   to follow a direct order contrary to a sincerely held religious belief or to face immediate

   processing for separation or other punishment undoubtedly causes irreparable harm.”

   (Doc. 111 at 45.)

          “Because, as the [Coast Guard] willingly concedes, a [Coast Guardsman’s]

   failure to comply with an order to receive COVID-19 vaccination subjects the [Coast

   Guardsman] to a ‘substantial threat’ of serious discipline including discharge, a RFRA

   objector's claim ripens upon the receipt of the order to receive vaccination.” Col. Fin.

   Mgmt. Officer, 2022 WL 3643512, at *17. And, here, there is no dispute that Plaintiffs

   have been finally denied and received the order to vaccinate. (Doc. 198, ¶¶ 25-29.) The

   same is true for many Proposed Class members. Thus,

          Because the [Coast Guard] has ordered many [Coast Guardsman] and
          will order more to receive vaccination—an order that puts each plaintiff
          to the choice of either betraying a sincerely held religious belief or facing
          a substantial threat of serious discipline—the class suffers a substantial
          burden . . . and consequently suffers irreparable harm.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *18 (cleaned up). The preliminary

   injunction should issue for the entire Proposed Class.

   III.   THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST FAVOR
          CLASSWIDE INJUNCTIVE RELIEF.

          “Because the religiously objecting [Coast Guardsmen] request preliminary relief

   against officials of the federal government, the analysis on the balance of equities and

   the analysis on the public interest merge.” Col. Fin. Mgmt. Officer, 2022 WL 3643512,

   at *18. As the Court has already held, “the public has no interest in tolerating an



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   unnecessary infringement on Free Exercise.” Id. (See also Doc. 111 at 45.) Indeed, “no

   injury to the public results from recognizing a person’s constitutional or statutory right

   or from ‘encouraging’ a person to vindicate that right in federal court.” (Doc. 111 at

   46.) In vivid contrast, the only harm that befalls Defendants in the instant matter is a

   self-inflicted wound. As the Court held, “to the extent a ‘substantial disruption’ results

   from the defendants’ systemic failure to assess a religious exemption request ‘to the

   person,’ the ‘harm’ suffered by defendants results from the defendants’ own failure to

   comply with RFRA.” (Doc. 111 at 46.) Plaintiffs and the Proposed Class “request[]

   only narrow, specific, and temporary relief and only that [should be] granted.” (Doc.

   173 at 19.) “Both the balance of the equities and public interest favor [Plaintiffs and

   the Proposed Class].” (Doc. 173 at 19.)

         Plaintiffs and the Proposed Class can say it no more eloquently than the Court

   already has:

          By enacting RFRA, Congress guaranteed each [Coast Guardsman]
          “appropriate relief” from an infringement on the [Coast Guardsman’s]
          Free Exercise. To say the least, an attempted evasion of judicial review
          strongly disserves the public interest. For the past two years, the [Coast
          Guardsmen] serving in the [Coast Guard] have ably discharged their
          duties. Almost all served at the onset of the pandemic and served
          successfully during peak jeopardy in the pandemic and before
          any vaccination against COVID-19 existed, almost all served during the
          height of the Delta variant surge, and almost all served during the
          Omicron variant. Nothing in the record establishes that preliminary
          injunctive relief for the religiously objecting [Coast Guardsmen] harms
          the public interest. Preserving and extending the status quo for a brief
          interval protects Free Exercise and ensures judicial review of allegedly
          wrongful government action. The record fails to demonstrate any
          meaningful increment of harm to national defense likely to result
          because these [Coast Guardsmen] continue to serve—as they have



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            served—unvaccinated but in accord with other, proven, rigorous, and
            successful safety protocols.

   Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *18. The relief afforded to the religiously

   objecting Marines in Colonel Financial Management Officer is equally appropriate here.

   The Proposed Class should be certified and the preliminary injunction granted.

                                        CONCLUSION

           As the Court concluded before, “RFRA directs the district court to award a

   successful plaintiff an ‘appropriate remedy’ to protect Free Exercise against undue

   restriction by any component of the federal government, which includes the legislative,

   the judicial, and the executive branch, including the armed forces and, in this instance,

   including the [Coast Guard].” Col. Fin. Mgmt. Officer, 2022 WL 3643512, at *18. “The

   singular characteristics of the plaintiff class in this action, the singular nature of the

   defendants in this action, the singular statute at issue in this action, the singular breadth

   of the statutory remedy prescribed, and the singular public interest in preserving both

   a fundamental constitutional right and a robust and ready military” support a finding

   that the Plaintiffs and Proposed Class members before the Court warrant classwide

   relief. Id.

           As such, Plaintiffs and the Proposed Class respectfully request that the Court

   certify the Proposed Class and issue a preliminary injunction such that Defendants are

   preliminarily enjoined (1) from enforcing against any member of the class any order,

   requirement, or rule to accept COVID-19 vaccination, (2) from separating or

   discharging from the Coast Guard any member of the class who declines COVID-19



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   vaccination, and (3) from retaliating against any member of the class for the member’s

   asserting statutory rights under RFRA.

                                    Respectfully submitted,

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